Case 1:18-cv-11107-ALC Document 23 Filed 05/15/19 Pape dDofYL

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

SUSANA GOYTENDIA,
Plaintiff,
~against-

DOWNTOWN RESTAURANT
COMPANY LLC d/b/a CIPRIANI
DOWNTOWN, GC ALPHA LLC d/b/a
CIPRIANI DOLCI, CIPRIANI
RESTAURANT 55 LLC, 42ND STREET
LESSEE, LLC d/b/a CIPRIANI 42ND
STREET,

Defendants.

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18-CV-11107 (ALC)

STIPULATION OF DISMISSAL WITH
PREJUDICE

IT IS HEREBY STIPULATED AND AGREED, by and between the parties herein,

through the undersigned counsel for Plaintiff and Defendants Downtown Restaurant Company

LLC d/b/a Cipriani Downtown, GC Alpha LLC d/b/a Cipriani Dolci, Cipriani Restaurant 55

LLC, and 42nd Street Lessee, LLC d/b/a Cipriani 42nd Street that the above-captioned action is

dismissed in its entirety with prejudice and without costs or attorneys’ fees to any party.

Dated: 2019

   

/Maimon Kirschenbaum
Lucas C. Buzzard
JOSEPH & KIRSCHENBAUM LLP
32 Broadway, Suite 601

New York, New York 10004

Tel: (212) 688-5640

Attorneys for Plaintiff

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A. Michael Weber
Samantha E. Beltre

‘LITTLER MENDELSON, P.C.

900 Third Avenue
New York, New York 10022
212.583.9600

Attorneys for Defendants

 

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